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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 21-806 PA (AFMx)                                                Date   April 30, 2021
 Title             Jesus Gonzalez v. Ocean Avenue Properties, LLC



 Present: The                    PERCY ANDERSON, UNITED STATES DISTRICT JUDGE
 Honorable
         Kamilla Sali-Suleyman                             Not Reported                               N/A
                 Deputy Clerk                             Court Reporter                           Tape No.
                Attorneys Present for Plaintiffs:                    Attorneys Present for Defendants:


 Proceedings:                 Order to Show Cause Re; Dismissal For Lack Of Prosecution

      Absent a showing of good cause, an action must be dismissed without prejudice if
the summons and complaint are not served on a defendant within 90 days after the
complaint is filed. Fed. R. Civ. P. 4(m).

       In the present case, it appears that this time period has not been met. Accordingly,
the court, on its own motion, orders plaintiff to show cause in writing on or before May 7,
2021, why this action should not be dismissed for lack of prosecution. Pursuant to Rule
78 of the Federal Rules of Civil Procedure, the court finds that this matter is appropriate
for submission without oral argument. The Order to Show Cause will stand submitted
upon the filing of plaintiff’s response. Failure to respond to this Order may result in the
imposition of sanctions, including but not limited to dismissal of the complaint.

         IT IS SO ORDERED.



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                                                               Initials of Preparer                KSS




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